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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


TYCO HEALTHCARE GROUP LP,                      ) CIVIL ACTION NO. 2:07CV262(TJW)
MALLINCKRODT INC. and LIEBEL                   )
FLARSHEIM COMPANY                              ) JURY TRIAL DEMANDED
                                               )
               Plaintiffs,                     )
                                               )
       vs.                                     )
                                               )
E-Z-EM, INC.                                   )

               Defendant.



ORDER GRANTING MOTION REGARDING DEFENDANT’S MOTION TO DISMISS
              AND REGARDING AMENDED PLEADINGS


       On this date came for consideration Parties Stipulation and Motion Regarding

Defendant’s Motion to Dismiss and Regarding Amended Pleadings and the Court being of the

opinion that same should be GRANTED, it is therefore,

       ORDERED that, Parties Stipulation and Motion Regarding Defendants Motion to

Dismiss and Regarding Amended Pleadings be and hereby is, GRANTED .

       SIGNED this 18th day of September, 2007.



                                           __________________________________________
                                           T. JOHN WARD
                                           UNITED STATES DISTRICT JUDGE
